

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-77,528-02






EX PARTE JOSE LUIS JIMENEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 20080D02726-210 IN THE 210TH  DISTRICT COURT


FROM EL PASO COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of driving while
intoxicated and sentenced to sixteen years' imprisonment.  The Eighth Court of Appeals affirmed
his conviction.  Jimenez v. State, No. 08-08-00347-CR (Tex. App. - El Paso, January 1, 2011).

	Applicant contends that his appellate counsel rendered ineffective assistance because  counsel
failed to timely notify Applicant that his conviction had been affirmed and failed to  advise him of
his right to petition pro se for discretionary review.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 668 (1984); Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997).  In these
circumstances, additional facts are needed.  Pursuant to Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall order appellate counsel to respond to Applicant's claim of ineffective assistance of counsel on
appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.  
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04.

	The trial court shall make findings of fact and conclusions of law as to whether Applicant's
appellate counsel timely informed Applicant that his conviction had been affirmed and that he has
a right to file a pro se petition for discretionary review.  The trial court shall also make any other
findings of fact and conclusions of law that it deems relevant and appropriate to the disposition of
Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court.


Filed: May 23, 2012

Do not publish


